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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

  UNITED STATES OF AMERICA

  v.                                                 Case No. 8:03-cr-77-T-30TBM

  SAMI AMIN AL-ARIAN, et al.
  ____________________________________

                                          ORDER

          This cause came on for consideration upon the Motion of Media General Operations

  for Access to Completed Juror Questionnaires (Dkt. #1471). Upon review and consideration,

  it is

          ORDERED AND ADJUDGED that:

          1.    The Motion of Media General Operations for Access to Completed Juror

  Questionnaires (Dkt. #1471) is GRANTED.

          2.    Jury Services is directed to redact personal information (such as information

  regarding medical conditions) from the juror questionnaires. Redacted copies will be

  available through Jury Services.

          DONE and ORDERED in Tampa, Florida on December 14, 2005.




  Copies furnished to:
  Counsel/Parties of Record
  Jury Services Administrator
